    Case 1:25-cv-00916-JDB   Document 20-1   Filed 04/08/25    Page 1 of 37




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA

JENNER & BLOCK LLP,
               Plaintiff,
      v.
U.S. DEPARTMENT OF JUSTICE, et al.,
               Defendants.            Civil Action No. 1:25-916 (JDB)




               DEFENDANTS’ MEMORANDUM IN SUPPORT OF
                        MOTION TO DISMISS
        Case 1:25-cv-00916-JDB                     Document 20-1                Filed 04/08/25             Page 2 of 37




                                                TABLE OF CONTENTS

INTRODUCTION ......................................................................................................... 1

LEGAL STANDARDS AND RULE STATEMENTS ................................................. 3

                 Shotgun Pleading ......................................................................................... 3

                 Rule 12(b) & 56 .......................................................................................... 4

ARGUMENT ................................................................................................................. 8

          I.        Plaintiff’s claims fail as to Section 1 of the Executive Order................ 8

          II.       Plaintiff’s claims fail as to Section 2 of the Executive Order.............. 13

          III.      Plaintiff’s claims fail as to Section 3 of the Executive Order.............. 17

          IV.       Plantiff’s claims fail as to Section 4 of the Executive Order............... 25

          V.        Plantiff’s claims fail as to Section 5 of the Executive Order............... 28

          VI.       Plantiff’s naming of the United States as a Defendant is Improper ... 32

CONCLUSION ........................................................................................................... 35




                                                                   i
      Case 1:25-cv-00916-JDB         Document 20-1        Filed 04/08/25     Page 3 of 37




       The U.S. Department of Justice, Federal Communications Commission, Office of

Management and Budget, Equal Employment Opportunity Commission, Office of Personnel

Management, General Services Administration, Office of the Director of National Intelligence,

Consumer Financial Protection Bureau, Department of Defense, Environmental Protection

Agency, Federal Energy Regulatory Commission, Federal Trade Commission, Securities and

Exchange Commission, Department of the Interior, Department of the Treasury, United States

Postal Service, Department of Health and Human Services, Department of Homeland Security,

Department of Veteran Affairs, other agencies subject to the Executive Order “Addressing Risks

from Jenner & Block,” the United States of America, and, in their official capacities, Pamela J.

Bondi, Brendan Carr, Geoffrey Starks, Nathan Simington, Anna M. Gomez, Russell T. Vought,

Andrea R. Lucas, Charles Ezell, Stephen Ehekian, Tulsi Gabbard, Scott Bessent, Pete Hegseth,

Lee Zeldin, Mark C. Christie, Willie L. Phillips, David Rosner, Lindsay S. See, Judy W. Change,

Andrew N. Ferguson, Melissa Holyoak, Mark T. Uyeda, Hester M. Peirce, Caroline A. Crenshaw,

Doug Burgum, Doug Tulino, Robert F. Kennedy, Jr., Kristi Noem, and Douglas A. Collins

(collectively, “Defendants”), respectfully move this Court to dismiss the Complaint.

                                      INTRODUCTION

       On March 25, 2024, President Trump issued Executive Order 14,246 (the “Executive

Order”), 90 Fed. Reg. 13997 (Mar. 28, 2025). The Executive Order lays out the President’s

concerns about the law firm Jenner & Block LLP (“Plaintiff”) in matters related to lawfare,

weaponization of government, and discriminatory employment practices.           In light of those

considerations, the Executive Order directs a review of Jenner & Block to ensure that the Federal

Government’s dealings with the firm are consistent with the national security of the United States

and other public interests. And it seeks to ensure that taxpayer funds are not in any way diverted


                                                1
      Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25      Page 4 of 37




to support unlawful or unsavory practices that—if they should be permitted at all—must be

financed by the private dime.

        Plaintiff’s 253-paragraph complaint raising thirteen separate legal claims only obscures

what is a straightforward—and straightforwardly legal—Executive Order. Try as it might to frame

the Executive Order as “punitive” or a “sanction,” the preamble in Section 1 and the operative

sections of the Executive Order—Sections 2, 3, 4, and 5—act within the bounds of established

Executive authority.

        As to the Section 1 preamble, Plaintiff’s lawsuit carries with it a dangerous risk of muzzling

the Executive. No less than Plaintiff, the Government has a right to speak which encompasses the

statements in Section 1.

        Section 2 of the Executive Order directs that agencies “review” whether “active security

clearances” held by Plaintiff’s employees “are consistent with the national interest.” EO 14246

§ 2. Plaintiff does not and cannot argue that it should have security clearance privileges if contrary

to the national interest. As detailed herein, courts have long held that on such matters the President

is entitled to great deference.

        Section 3 of the Executive Order seeks to cancel any contracts for which Jenner & Block

is hired to perform services. The Executive Order specifies that, among other goals, Section 3

seeks to ensure that there is no transfer of taxpayer dollars to entities that engage in racial

discrimination. Executive use of the procurement power to advance social policy has long been

held to be on the firmest possible grounds of authority: The express or implied authorization of

Congress.

        Section 4, for its part, does nothing at all. That Plaintiff castigates it as a “thinly veiled

directive for the Chair of the Equal Employment Opportunity Commission” serves only to


                                                  2
      Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25      Page 5 of 37




demonstrate that Plaintiff is challenging the wrong order. In all events, Plaintiff accuses the Order

only of directing the EEOC to investigate whether Jenner & Block and similar employers

complying with civil rights law—in other words, to do what it was already the EEOC’s job to do.

Again, this is firmly within the prerogative of the Executive.

       In Section 5 the Executive Order directs agencies to issue guidance as to what access

Plaintiff’s employees should have to government buildings and government officials, consistent

with national security and applicable law, as well as examine the propriety of hiring employees

from Plaintiff’s firm. While Plaintiff’s claims are unripe as no guidance has been issued, the

parameters of access to staff, offices, and employment are well within the rights of the Executive.

And try as Plaintiff might to describe potential impacts on the right to counsel, all of this is pure

conjecture and speculation. The guidance—which must be consistent with the law—has yet to be

issued and therefore there is no actual controversy before this Court.

       The Executive Order directs agencies to do what they should already be doing, declines to

contract with entities who act inconsistently with valid social policies regarding discrimination,

and calls for the lawful examination of security clearances and government access of employees

of Plaintiff’s firm. The law does not support Plaintiff’s claims as to Sections 1, 2, 3, 4, and 5; and

as to Section 5 specifically, Plaintiff’s claim is at best too early and, as any guidance will be

consistent with the law, will eventually fail on the merits. Accordingly, this Court should dismiss

the Complaint.

                      LEGAL STANDARDS AND RULE STATEMENTS

                                         Shotgun Pleading

       Each count of the Complaint begins with a paragraph stating, “Plaintiff repeats and

realleges the allegations set forth in each of the preceding paragraphs as if fully set forth herein.”


                                                  3
      Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 6 of 37




See Compl. ¶¶ 140, 154, 161, 167, 172, 181, 188, 201, 208, 218, 227, 235, 239. The Complaint

does not limit “the preceding paragraphs” to those relevant to or illustrative of the legal and factual

basis for each individual count, but incorporates every paragraph, including of any preceding

counts, count after count. As an example, Count XIII necessarily includes every preceding

paragraph, including those in Counts I–XII. From a practical perspective, this severely handicaps

the Defendants’ and the Court’s ability to ascertain the particulars of Plaintiff’s challenges to the

various sections of the Executive Order, including which allegations and claims in the Complaint

pertain to which sections of the Executive Order.

       The D.C. Circuit has emphasized that FED. R. CIV. P. 8 “underscore[s] the emphasis placed

on clarity and brevity by the federal pleading rules.” Ciralsky v. CIA, 355 F.3d 661, 668–69 (D.C.

Cir. 2004). This case demonstrates why. Plaintiff’s imprecise practice here only complicates

Defendants’ task in moving for dismissal and the Court’s ability to assess these arguments. Indeed,

Plaintiff’s Complaint in this respect is a paradigm example of a “shotgun pleading.” See Weiland

v. Palm Beach Cnty. Sheriff’s Office, 792 F.3d 1313, 1321–23 (11th Cir. 2015). Defendants reserve

the right to include in any follow-on briefing additional argument or bases for dismissal or

judgment to the extent Plaintiff clarifies their claims in a manner not clearly evident on the face of

its Complaint and TRO Motion. To provide some structure this overbroad shotgun Complaint,

Defendants have organized this motion to dismiss by addressing what appear to be Plaintiff’s

challenges to each section of the Executive Order.

                                          Rule 12(b) & 56

       On a Rule 12(b)(6) motion to dismiss, the Court must “accept the well-pleaded factual

allegations as true and draw all reasonable inferences from those allegations in the plaintiff’s

favor.” Air Excursions LLC v. Yellen, 66 F.4th 272, 277 (D.C. Cir. 2023). The factual allegations


                                                  4
      Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25      Page 7 of 37




“must still be enough to raise a right to relief above the speculative level,” and “the Court need not

accept inferences drawn by plaintiff if those inferences are not supported by the facts set out in the

complaint.” Langeman v. Garland, 88 F.4th 289, 294 (D.C. Cir. 2023). The Court may also

consider “any documents either attached to or incorporated in the complaint,” “matters of which

[the Court] may take judicial notice,” and matters of public record. EEOC v. St. Francis Xavier

Parochial Sch., 117 F.3d 621, 625 (D.C. Cir. 1997); Sheppard v. United States, 640 F. Supp. 2d 29,

32 (D.D.C. 2009). For a motion brought under Rule 12(b)(1), the Court may consider the

complaint “supplemented by undisputed facts evidenced in the record or the complaint

supplemented by undisputed facts plus the court’s resolution of disputed facts.” Sheppard, 640

F. Supp. 2d at 32. Summary judgment under Rule 56(a) may be granted only if “there is no genuine

dispute as to any material fact,” including based on information outside the pleadings, and “the

movant is entitled to judgment as a matter of law.”

       Plaintiff raises First Amendment claims (Counts I, II, III, IV, V, and VI), due process claims

(Counts VII, VIII, and IX), an equal protection claim (Count X), right-to-counsel claims (Counts

XI and XII), and an ultra vires claim (Count XIII).

       Plaintiff leads with six claims based upon the First Amendment. First, Plaintiff claims that

Defendants engaged in unconstitutional retaliation against First Amendment-protected conduct.

Second, Plaintiff argues that the Executive Order discriminates based on viewpoint. Third,

Plaintiff alleges that the Executive Order violates Jenner & Block’s freedom of association.

Fourth, Plaintiff raises a challenge under the right to petition. Fifth, Plaintiff claims that the

Executive Order unlawfully compels disclosure. And sixth, Plaintiff alleges that the Executive

Order imposes unconstitutional conditions on government benefits.




                                                  5
      Case 1:25-cv-00916-JDB            Document 20-1          Filed 04/08/25       Page 8 of 37




        To succeed on a First Amendment retaliation claim, a plaintiff must allege “(1) he engaged

in conduct protected under the First Amendment; (2) the defendant took some retaliatory action

sufficient to deter a person of ordinary firmness in plaintiff’s position from speaking again; and

(3) a causal link between the exercise of a constitutional right and the adverse action taken against

him.” Aref v. Lynch, 833 F.3d 242, 258 (D.C. Cir. 2016). In the specific context of contractor

speech, “for a government employee’s or contractor’s speech to have First Amendment protection,

the employee or contractor must have (1) spoken as a citizen and (2) addressed matters of public

concern.” Ramey v. U.S. Marshals Serv., 755 F. Supp. 2d 88, 93 (D.D.C. 2010). At the same time,

“[t]he government needs to be free to terminate both employees and contractors for poor

performance.” Bd. of Cnty. Comm’rs v. Umbehr, 518 U.S. 668, 674 (1996).

        Plaintiff next raises three claims sounding in due process. First, Plaintiff contends that the

Executive Order violates its right to procedural due process. Second, Plaintiff alleges (in a retread

of its First Amendment claims) that the Executive Order infringes on its substantive due process

rights. Third, Plaintiff argues that the Executive Order is unconstitutionally vague.

        “A procedural due process claim consists of two elements: (i) deprivation by state action

of a protected interest in life, liberty, or property, and (ii) inadequate state process.” Reed v. Goertz,

598 U.S. 230, 236 (2023); see also English v. District of Columbia, 717 F.3d 968, 972 (D.C. Cir.

2013) (“The procedural due process protections under the Fifth and Fourteenth Amendments are

the same.”). Whether the process provided is adequate depends on “(1) the importance of the

private interest at stake, (2) the risk of an erroneous deprivation of the interest because of the

procedures used and the probable value of additional procedural safeguards, and (3) the

government’s interests, including the cost of additional procedures.” English, 717 F.3d at 972. As

for substantive due process, absent a “suspect classification or infringement of a fundamental


                                                    6
      Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25      Page 9 of 37




interest, the Fifth Amendment requires only a rational basis.” AFGE v. United States, 330 F.3d

513, 523 (D.C. Cir. 2003). And “[t]he Due Process Clause prohibits the Government from taking

away someone’s life, liberty, or property under a criminal law so vague that it fails to give ordinary

people fair notice of the conduct it punishes, or so standardless that it invites arbitrary

enforcement.” Kincaid v. Gov’t of the District of Columbia, 854 F.3d 721, 728 (D.C. Cir. 2017)

(Kavanaugh, J.) (internal quotation marks omitted).

       Plaintiff also raises an equal protection claim in Count X. To bring such a claim, a plaintiff

must “allege that she has been intentionally treated differently from others similarly situated and

that there is no rational basis for the difference in treatment.” Willowbrook v. Olech, 528 U.S. 562,

564 (2000). And “[e]ven at the motion to dismiss stage, a plaintiff alleging an equal protection

violation must plead facts that establish that there is not any reasonable conceivable state of facts

that could provide a rational basis for the classification.” Lillemoe v. U.S. Dep’t of Agric., 344

F. Supp. 3d 215, 229 (D.D.C. 2018).

       Plaintiff further raises two claims based on the right to counsel in Counts XI and XII. The

Sixth Amendment guarantees “that a person brought to trial in any state or federal court must be

afforded the right to the assistance of counsel.” Faretta v. California, 422 U.S. 806, 807 (1975).

That right is “not absolute”; it “cannot be insisted upon in a manner that will obstruct an orderly

procedure in courts of justice,” and the “public has a strong interest in the prompt, effective, and

efficient administration of justice.” United States v. Burton, 584 U.S. 485, 489 (D.C. Cir. 1978).

       Finally, Plaintiff raises an ultra vires claim. Such a claim is “available only for the narrow

purpose of obtaining injunctive relief against agency action taken in excess of its delegated powers

and contrary to a specific prohibition in the law.” Fed. Express Corp. v. U.S. Dep’t of Commerce,

39 F.4th 756, 765 (D.C. Cir. 2022). They are subject to a “demanding standard.” Id. at 765. Such


                                                  7
     Case 1:25-cv-00916-JDB            Document 20-1        Filed 04/08/25      Page 10 of 37




claims are “confined to extreme agency error where the agency has stepped so plainly beyond the

bounds of its statutory authority, or acted so clearly in defiance of it, as to warrant the immediate

intervention of an equity court.”      Id. at 764 (cleaned up).     “Only error that is patently a

misconstruction of [a statute], that disregards a specific and unambiguous statutory directive, or

that violates some specific command of a statute will support relief.” Id. (cleaned up). Further,

for a proper ultra vires claim, a plaintiff must show “there is no alternative procedure for review”

of its claim. Id. at 763.

                                           ARGUMENT

    I.        Plaintiff’s claims fail as to Section 1 of the Executive Order.

         Section 1 of the Executive Order contains a brief factual explanation for the operational

elements of the Executive Order that describes Jenner & Block’s activities both in its capacity as

a law firm offering legal representation and in its capacity as an employer. As to its legal services,

Section 1 explains that Jenner & Block has, among other things, prevented the current

Administration from pursuing its policy of protecting children from chemical and surgical

mutilation.     It further describes how Jenner & Block has publicly supported the Mueller

investigation by re-hiring Andrew Weissmann, including by public statements applauding Mr.

Weissmann’s efforts in that matter. And, finally, Section 1 explains that Jenner & Block

“discriminates against its employees based on race and other categories prohibited by civil rights

laws, including through the use of race-based targets.” EO 14246 § 1.

         Plaintiff does not and cannot seriously contest these facts. The public record shows that

Plaintiff is providing pro bono representation in a challenge to the President’s executive order

designed to protect children from chemical and surgical mutilation. See Compl. ¶ 116 (referring

to PFLAG, Inc. v. Trump, No. 8:25-cv-00337 (D. Md. filed Feb. 4, 2025)). As to Weissmann,


                                                  8
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25       Page 11 of 37




Plaintiff tries to minimize any association with him, on the theory that “Mr. Weissmann has not

performed legal work for Jenner & Block” in roughly four years. Compl. ¶ 112. But Plaintiff’s

attempts to distance itself from Weissman or his investigation of the President are revisionist

history. Shortly before Mr. Weissman’s departure from the firm, Jenner & Block hosted an event

interviewing him. According to the firm’s website, the discussion would “offer unique insight on

the [Mueller] investigation’s history-making search for the truth, the team’s painstaking

challenges, and the unprecedented efforts by President Trump and Attorney General Barr to stifle

their mission.” See Event, After the Election: What Now for the United States (Nov. 25, 2020)

(available at https://www.jenner.com/en/news-insights/events/after-the-election-what-now-for-

the-united-states). And last, as to Jenner & Block’s employment practices, as recently as 2024—

well after the Supreme Court’s landmark decision in Students for Fair Admissions, Inc., v.

President and Fellows of Harvard College, 600 U.S. 181 (2023) (“SFFA”)—the Firm reported to

Vault that it has “set formal, measurable targets for increasing diversity in recruitment, retention,

promotion, and/or leadership.”       2024 Vault Law Firm Diversity Survey, at 7 (available at

https://media2.vault.com/14351711/jenner-and-block.pdf). Jenner & Block further explained that

it is “analyzing [its] current diversity metrics and setting stretch goals for [its] partnership overall,

equity partnership, leadership roles, partnership promotion, and overall lawyer makeup.” Id. And,

what is more, Jenner & Block is “committed to doing what it takes to hit [its] stretch goals.” Id.

(emphasis added).

        For the most part, the Complaint refers to Section 1, but does not challenge it. For good

reason—as noted, Section 1 states either fact or opinion, neither of which is actionable. Instead,

Plaintiff’s tactic is to argue that the Government may not “punish[]” or “sanction[]” Jenner &

Block on account of the observations in Section 1. Compl. ¶¶ 147–48. Before proceeding to the


                                                   9
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 12 of 37




rest of the Complaint and the rest of the Executive Order, it is important to note the flaw in

Plaintiff’s logic. The Executive Order is not a punishment or a sanction; no one is “punished”

when he does not have discretionary clearance, and no one is “sanctioned” when he simply is not

provided a government grant under a contract.

       Only Counts VII and IX of the Complaint actually challenge Section 1. In Count VII,

Plaintiff claims that “[t]he Order harms Jenner & Block’s cognizable reputation interest by

stigmatizing Jenner & Block as ‘abandon[ing] the profession’s highest ideals,’ ‘engag[ing] in

obvious partisan representations to achieve political ends,’ ‘support[ing] attacks against women

and children based on a refusal to accept the biological reality of sex,’ and ‘back[ing] the

obstruction of efforts to prevent illegal aliens from committing horrific crimes and trafficking

deadly drugs within our borders.’” Compl. ¶ 190. And in Count X, Plaintiff claims that Section

1’s references to “diversity, equity, and inclusion” policies are unconstitutionally vague. Id. ¶ 213.

       Neither charge carries any water. Count VII raises a procedural due process challenge that

requires Plaintiff to identify a “constitutionally protected interest,” Bowman v. Iddon, 848 F.3d

1034, 1039 (D.C. Cir. 2017), and the typical plaintiff “lack[s] . . . any constitutional protection for

the interest in reputation,” Siegert v. Gilley, 500 U.S. 226, 234 (1991). A narrow exception to that

general rule exists for “reputation-plus claim[s],” which “require[] a plaintiff to identify an act of

defamation made in conjunction with an adverse employment action.” Langeman, 88 F.4th at 296.

“A defamatory statement must be false as well as defamatory,” and for that reason “a statement of

pure opinion cannot” be “the basis for a defamation claim.” Campbell v. District of Columbia,

126 F. Supp. 3d 141, 150 (D.D.C. 2015) (internal quotation marks omitted).

       Count X fails because Plaintiff has not identified any defamatory act on the part of

Defendants. See Lamb v. Millennium Challenge Corp., 498 F. Supp. 3d 104, 115 (D.D.C. 2020)


                                                  10
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 13 of 37




(noting that “a reputation-plus claim requires showing that the government made defamatory

statements concerning the plaintiff”). As already noted, the Complaint does not dispute that Jenner

& Block has engaged in pro bono representation in challenges to the President’s executive orders

seeking to address the immigration crisis at the border and chemical and surgical mutilation of

children. Compl. ¶¶ 115, 116. And, although Jenner & Block claims that the Executive Order

(which is not subject to pleading standards) makes “unsubstantiated conclusions as to the Firm’s

employment practices,” id. ¶ 119, the Complaint says precious little to debunk Section 1’s charge

that Jenner & Block considers race and other protected characteristics in its employment practices.

Indeed, as noted above, the recent Vault survey gives more than enough reason to believe that

Jenner & Block engages in concerning discriminatory practices.

       The Government has every right to use its procurement power to discourage such practices.

Diversity initiatives have always been legally suspect, see Ricci v. DeStefano, 557 U.S. 557, 594

(2009) (Scalia, J., concurring) (“Would a private employer not be guilty of unlawful discrimination

if he refrained from establishing a racial hiring quota but intentionally designed his hiring practices

to achieve the same end? Surely he would.”), and especially so since the Supreme Court’s decision

in SFFA. The practices engaged in by Plaintiff and other large law firms provide ample basis for

review by the EEOC Commissioner. By the same token, those practices also justify the lesser

action of simply reviewing contracting decisions involving Plaintiff. This Court should dismiss

Count VII as it relates to Section 1 of the Executive Order.

       Count IX fares no better. There, Plaintiff argues that the Executive Order is void for

vagueness. In particular, Plaintiff singles out Section 1’s references to “diversity, equity, and

inclusion” as unconstitutionally vague. Compl. ¶ 213.




                                                  11
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25      Page 14 of 37




        There is no merit to Plaintiff’s void-for-vagueness challenge. As an initial matter, it is

telling that Plaintiff cites only criminal cases to support its claim. Here, of course, the Executive

Order is not a criminal statute (indeed, not a statute at all) and is not proscriptive like a criminal

statute; accordingly, it is unclear that vagueness doctrine even applies. The D.C. Circuit expressed

doubt that the doctrine should be applied to laws other than “those that define criminal offenses”

and “those that fix the permissible sentences for criminal offenses.” Kincaid, 854 F.3d at 729

(Kavanaugh, J.). The Executive Order does neither.

        Regardless, the “degree of vagueness that the Constitution allows depends in part on the

nature of the enactment.” Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 498-

99 (1982). Thus, it is a low bar for even civil statutes to satisfy due process. Seniors Civil Liberties

Ass’n v. Kemp, 965 F.2d 1030, 1036 (11th Cir. 1992) (“To find a civil statute void for vagueness,

the statute must be so vague and indefinite as really to be no rule or standard at all.”); see also

Griffin v. Bryant, 30 F. Supp. 3d 1139, 1174 (D.N.M. 2014) (explaining that negligence law “would

. . . fail the void-for-vagueness analysis that applies to criminal statutes”). Even more so when all

that is at stake are government contracts. Nat’l Endowment for the Arts v. Finley, 524 U.S. 569,

589 (1998) (“[W]hen the Government is acting as patron rather than as sovereign, the

consequences of imprecision are not constitutionally severe.”).

        And here, Plaintiff has no plausible argument that the Executive Order is unconstitutionally

vague. The Executive Order, after all, refers to “categories prohibited by civil rights laws.” EO

14246 § 1. Plaintiff alleges that this reference is “unconstitutionally vague,” Compl. ¶ 213, but it

is no vaguer than the civil rights laws themselves. See also DOJ Press Release, EEOC and Justice

Department Warn Against Unlawful DEI-Related Discrimination (Mar. 19, 2025) (available at

https://www.justice.gov/opa/pr/eeoc-and-justice-department-warn-against-unlawful-dei-related-


                                                  12
       Case 1:25-cv-00916-JDB            Document 20-1        Filed 04/08/25       Page 15 of 37




discrimination) (noting that the “widespread adoption of DEI . . . does not change longstanding

legal prohibitions against the use of race, sex, and other protected characteristics in employment”).

In other words, to find in Plaintiff’s favor that the Executive Order is unconstitutional on vagueness

grounds would also call into question the constitutionality of the civil rights laws.

            The Court should decline to reach such an extraordinary conclusion. So long as it provides

an “intelligible benchmark,” a civil statute is not void for vagueness. See K-S Pharms., Inc. v. Am.

Home Prods. Corp., 962 F.2d 728, 732 (7th Cir. 1992) (Easterbrook, J.). The Executive Order

easily meets that standard, to the extent the standard even applies. The Court should dismiss Count

IX.

            At the end of the day, Plaintiff simply does not like what the current Administration thinks

about Plaintiff. That is not the stuff plausible claims are made of. “A government entity has the

right to speak for itself”; it is “entitled to say what it wishes,” and “to select the views that it wants

to express.” Pleasant Grove City v. Summum, 555 U.S. 460, 467–68 (2009). That is all that Section

1 of the Executive Order does, and Plaintiff has no right to silence the Government’s own opinions.

Plaintiff’s claims asking this Court to do just that should be dismissed.

      II.      Plaintiff’s claims fail as to Section 2 of the Executive Order.

            Section 2 of the Executive Order directs relevant agency heads to “take steps consistent

with applicable law to suspend any active security clearances held by individuals at Jenner,

pending a review of whether such clearances are consistent with the national interest.” EO 14246

§ 2(a). 1 Plaintiff appears to challenge this aspect of the Executive Order on ultra vires grounds

and as violating due process and the First Amendment.



1
 Also, Section 2(b) of the Executive Order requires, “to the extent permitted by law,” the cessation
of the provision of material and services, “including Sensitive Compartmented Information
Facilities, provided for the benefit of Jenner.”
                                                    13
     Case 1:25-cv-00916-JDB          Document 20-1         Filed 04/08/25     Page 16 of 37




       Plaintiff’s challenges to Section 2 of the Executive Order fail. To begin, the challenges run

headlong into governing D.C. Circuit precedent reflected in Lee v. Garland, 120 F.4th 880 (D.C.

Cir. 2024). Under that precedent, consistent with Department of Navy v. Egan, 484 U.S. 518

(1988), courts may not review a decision to deny or revoke a security clearance even when the

denial or revocation is challenged on statutory or even constitutional grounds. Lee, 120 F.4th at

883; id. at 891 (“The Constitution commits the question whether to deny or revoke a security

clearance to the Executive Branch.”); id. (“[F]ederal courts generally may not second-guess the

political branches’ discretionary judgments about matters of national security.”). Importantly, the

Lee court considered the fact that assessment of “constitutional challenges often require courts to

make nuanced judgments about the challenged government action: What was its motivation? . . .

Did the government have a compelling, substantial, or legitimate interest for its decision? Was its

reasoning adequately tailored to that interest?” Id. at 893–94. The Court concluded, however, that

“[i]n the context of clearance decisions, a court could not answer such questions without doing

what Egan said is not reasonably possible.” Id. at 894.

       Consistent with this precedent and reasoning, to the extent Plaintiff in this case challenges

the suspension of security clearances pending further review, such claims, even when

constitutionally based, are not judicially reviewable and must fail.

       The same should be true with respect to the Executive Order’s call for that further review.

“[E]ntities charged with making security clearance decisions . . . need full access to even

unsubstantiated and doubtful information in order to make the sensitive, predictive judgments that

Egan protects.” Rattigan v. Holder, 689 F.3d 764, 769 (D.C. Cir. 2012). Accordingly, even

providing false information for purposes of making security clearance decisions is generally not




                                                14
     Case 1:25-cv-00916-JDB          Document 20-1         Filed 04/08/25     Page 17 of 37




actionable so long as that information was not knowingly false. Id. And here, the review called

for by the President easily surpasses that low standard.

       Here, before the President is the decision whether to provide security clearances to

individuals at Jenner & Block. That decision is inherently “a sensitive and inherently discretionary

judgment call.” Egan, 484 U.S. at 527. As noted before, Jenner & Block publicly praised

Weissmann’s role in the Mueller investigation, and backed up that praise by rehiring him. Such

words may be Jenner & Block’s right. But it is also the President’s right to question Jenner &

Block’s judgment in this matter, considering the serious questions about the propriety of the

Mueller investigation and the charges Jenner & Block’s own lawyer levied against the President

himself. See After the Election, supra; cf. Fischer v. United States, 603 U.S. 480 (2024) (rejecting

similarly implausible reading of the criminal statute underlying the Mueller investigation).

       Furthermore, Plaintiff’s procedural due process challenge to Section 2 must also fail. The

Executive Order provides that the suspension of any security clearances is to be done through

“steps consistent with applicable law . . . pending a review whether such clearances are consistent

with the national interest.” Executive Order 14246 § 2(a). Another executive order, Executive

Order 12968, 60 Fed. Reg. 40245 (1995), “establishes a uniform Federal personnel security

program” for individuals “considered for initial or continued access to classified information.”

Section 5.2(a) of that executive order provides extensive procedural process guarantees to

individual clearance holders whose access to classified information is terminated, including notice,

an opportunity to submit information, and appeal, subject to national security considerations. 2 The



2
  For example, Section 5.2(e) provides: “This section shall not be deemed to limit or affect the
responsibility and power of an agency head pursuant to any law or other Executive order to deny
or terminate access to classified information in the interests of national security. The power and
responsibility to deny or terminate access to classified information pursuant to any law or other
Executive order may be exercised only where the agency head determines that the procedures
                                                15
     Case 1:25-cv-00916-JDB           Document 20-1          Filed 04/08/25    Page 18 of 37




executive order also directs agencies to promulgate regulations consistent with these process

requirements. EO 12968 § 5.2(c). Many agencies have such regulations or directives. See, e.g.,

Department of Defense Manual 5200.02 (Procedures For The DoD Personnel Security Program

(PSP))                                          (available                                         at

https://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodm/520002m.pdf);                 see   id.

§ 9.2.d (providing that “[n]o final unfavorable national security eligibility determination may be

taken” without process provided by the Manual).

         Accordingly, any individual employee of Plaintiff with a security clearance will receive

appropriate process, pre- or post-deprivation, with regard to maintaining or restoring their security

clearance, and such process in the circumstances of security clearance related matters is

permissible. Cf. Smith v. District of Columbia, 387 F. Supp. 3d 8, 31 (D.D.C. 2019) (“[I]n

‘extraordinary situations where some valid governmental interest is at stake that justifies

postponing the hearing until after the’ deprivation, a post-deprivation opportunity to be heard

suffices.”) (quoting Boddie v. Connecticut, 401 U.S. 371, 378–79 (1971)). Relatedly, any claim

associated with the security clearance process that, under governing precedent, may be reviewable,

is, at this point not ripe. See In re Al-Nashiri, 47 F.4th 820, 826 (D.C. Cir. 2022) (“The ripeness

doctrine requires that the federal courts reserve judicial power for resolution of concrete and fully

crystalized disputes.”). Until any clearance suspension is accomplished consistent with applicable

law, and then reviewed consistent with applicable law and a further security clearance

determination made, any dispute is premature for judicial consideration.

         Accordingly, Plaintiff’s challenge to Section 2 of the Executive Order must fail.




prescribed in subsection (a) of this section cannot be invoked in a manner that is consistent with
national security. This determination shall be conclusive.”
                                                 16
     Case 1:25-cv-00916-JDB            Document 20-1       Filed 04/08/25       Page 19 of 37




    III.      Plaintiff’s claims fail as to Section 3 of the Executive Order.

           Section 3 of the Executive Order concerns the Federal Government’s contracting policies.

As relevant, Section 3 issues two directives.          First, “to the extent permissible by law,”

“Government contractors” shall be “require[d] . . . to disclose any business they do with Jenner

and whether that business is related to the subject of the Government contract.” EO 14246 § 3(a).

Second, “the heads of agencies shall . . . take appropriate steps to terminate any contract . . . for

which Jenner has been hired to perform any service.” Id. § 3(b)(i).

           As a preliminary point, it must be emphasized that when implementing Section 3 the

Government is acting as a private party, not as a sovereign. Waters v. Churchill, 511 U.S. 661, 675

(1994) (plurality opinion) (“The government's interest in achieving its goals as effectively and

efficiently as possible is elevated from a relatively subordinate interest when it acts as sovereign

to a significant one when it acts as employer.”). The effort to combat racial discrimination through

the procurement power has been a feature of executive orders since at least the 1940s. Contractors

Ass’n of Eastern Pa. v. Secretary of Labor, 442 F.2d 159, 168–71 (3d Cir. 1971). Such orders

enjoy the firmest possible constitutional support.       Id. at 170 (“In the area of Government

procurement Executive authority to impose non-discrimination contract provisions falls in Justice

Jackson’s first category [from Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952),

discussing varying levels of deference to Executive authority]: action pursuant to the express or

implied authorization of Congress.”). Furthermore, while Section 3 relies equally on Plaintiff’s

racial discrimination and its malfeasance in election litigation for its authority, either ground is

sufficient to sustain its provisions. McGowan v. State of Maryland, 366 U.S. 420, 426 (1961) (a

statute with discriminatory provisions “will not be set aside if any state of facts reasonably may be

conceived to justify it”).


                                                  17
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 20 of 37




       In protest of Section 3, Plaintiff levies Counts I (First Amendment retaliation), II

(viewpoint discrimination), III (freedom of association), V (compelled speech), VI

(unconstitutional conditions), VII (procedural due process), VIII (substantive due process), X

(equal protection), XI & XII (right to counsel), and XIII (ultra vires). The Court should dismiss

each one.

       As an initial matter, Plaintiff has not demonstrated standing to challenge Section 3 insofar

as it regulates its clients. “[N]o principle is more fundamental to the judiciary's proper role in our

system of government than the constitutional limitation of federal-court jurisdiction to actual cases

or controversies.”     Clapper v. Amnesty Int'l USA, 568 U.S. 398, 408 (2013) (quoting

DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 341 (2006)). “[T]he law of Art[icle] III standing

is built” on fundamental separation-of-powers principles, Raines v. Byrd, 521 U.S. 811, 820 (1997)

(citation omitted), and “serves to prevent the judicial process from being used to usurp the powers

of the political branches,” Clapper, 568 U.S. at 408. Accordingly, application of Article III

standing requirements must be “especially rigorous when,” as here, “reaching the merits of the

dispute would force [a court] to decide whether an action taken by [another] branch[] of the Federal

Government was unconstitutional.” Raines, 521 U.S. at 819–20.

       To establish standing, a plaintiff must have suffered an “injury in fact”—an invasion of a

legally protected interest which is “concrete and particularized,” “actual or imminent” and not

“conjectural” or “hypothetical.” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992). There

must be a “causal connection between the injury and the conduct complained of” such that the

injury is fairly traceable to the defendant; and it must be “likely,” and not merely “speculative,”

that the injury will be redressed by a favorable decision from the court. Id. As the party invoking

Federal court jurisdiction, Plaintiff “bears the burden of establishing these elements.” Id. at 555.


                                                 18
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25      Page 21 of 37




Further, “[P]laintiff must demonstrate standing for each claim . . . [it] seeks to press,”

DaimlerChrysler Corp., 547 U.S. at 335. And because Plaintiff seeks prospective equitable relief,

the “threatened injury must be certainly impending” and not merely “possible.” Clapper, 568 U.S.

at 409 (quoting Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)); see City of Los Angeles v. Lyons,

461 U.S. 95, 111 (1983) (holding prospective relief unavailable based on mere speculation of

future injury). Such proof of an imminent and non-conjectural injury serves to ensure that legal

questions “will be resolved, not in the rarified atmosphere of a debating society, but in a concrete

factual context conducive to a realistic appreciation of the consequences of judicial action.” Valley

Forge Christian Coll. v. Americans United for Separation of Church & State, 454 U.S. 464, 472

(1982).

          Plaintiff complains that its clients are withdrawing or considering withdrawing work in

light of the Executive Order, Compl. ¶ 130, but such injuries face a significant traceability issue.

See Doe v. Apple Inc., 96 F.4th 403, 409 (D.C. Cir. 2024) (traceability requires a “causal connection

between the assertedly unlawful conduct and the alleged injury”). Section 3 only “terminate[s]

any contract . . . for which Jenner has been hired to perform any service.” EO 14230 § 3(b)(i).

Plaintiff, for its part, never alleges in the complaint that it was “hired to perform any service” under

any government contract, nor does it allege a direct nexus between the termination of a client

relationship and the cancellation of any specific contract. There is thus a significant factual

predicate missing from the Complaint that connects the Executive Order to any injury this Court

can remedy. See Apple, Inc., 96 F.4th at 409 (no standing when the “chain of causation” “result[s]

from the independent action of some third party not before the court”). Plaintiff further runs into

standing problems as to its own contracts. Plaintiff never alleges that the Government is currently

contracting for Plaintiff’s services, or that Plaintiff ever intends to bid for any government contract.


                                                  19
     Case 1:25-cv-00916-JDB              Document 20-1          Filed 04/08/25       Page 22 of 37




With only speculative injury, Plaintiff cannot ask relief of this Court. Clapper v. Amnesty Int’l

USA, 568 U.S. 398, 409 (2013) (“To establish Article III standing, an injury must be concrete,

particularized, and actual or imminent.”).

          Regardless, Plaintiff’s claims also fail on the merits. First, Plaintiff raises a variety of First

Amendment challenges. All fail. Begin with Plaintiff’s claims of First Amendment retaliation and

viewpoint discrimination. A contractor pressing these claims must “show (1) that she spoke as a

citizen on a matter of public concern and (2) that the termination of her contract was motivated by

her speech on a matter of public concern.” Navab-Safavi v. Broad. Bd., 650 F. Supp. 3d 40, 54

(D.D.C. 2009). Even then, the Government acts within its rights when its “legitimate interests as

a contractor, deferentially viewed, outweigh the free speech interests at stake.” Umbehr, 518 U.S.

at 685.

          The speech in this case consists of employment practices involving racial discrimination.

EO 14230 § 3(a). The fact that these actions are punishable under civil rights laws amply

demonstrates that such speech is not “protected” in any meaningful sense. See Doe v. District of

Columbia, 796 F.3d 96, 106 (D.C. Cir. 2015) (“To establish a claim for retaliation under the First

Amendment, an individual must prove . . . that he engaged in protected conduct.” (emphasis

added)). Regardless, Defendants’ “legitimate interests as a contractor . . . outweigh the free speech

interests at stake” here. Umbehr, 518 U.S. at 685. “Efficiency and fiscal responsibility are

powerful governmental interests.” Messman v. Helmke, 133 F.3d 1042, 1047 (7th Cir. 1998). “The

government needs to be free to terminate both employees and contractors for poor performance,

to improve the efficiency, efficacy, and responsiveness of service to the public, and to prevent the




                                                     20
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 23 of 37




appearance of corruption.” Umbehr, 518 U.S. at 674. 3 Those are exactly the rationales the

Executive Order provides in Section 3. It is reasonable to consider a contractor’s performance

subpar when they retain the services of a law firm that has proudly engaged (and appears to

continue to engage) in racial discrimination. It is inefficient for Federal funds to ultimately flow

into the coffers of such entities. And it serves taxpayers to ensure that their dollars are not in any

way traceable to the subsidization of “racial discrimination.” EO 14246 § 3.

       Furthermore, the fact that a funding program supports one point of view does not

necessarily establish viewpoint discrimination against disfavored alternatives. Rust v. Sullivan,

500 U.S. 173 (1991). There are no constitutional concerns with programs that encourage certain

activities without providing funds for alternative options on the same issue. There are only so

many government contracts to go around; “the Government has not discriminated on the basis of

viewpoint” merely by “fund[ing] one activity to the exclusion of the other.” Id. at 193. By the

same token, a “refusal to fund protected activity, without more, cannot be equated with the

imposition of a ‘penalty’ on that activity.” 448 U.S. 297, 317, n.19 (1980). Try as it might, Plaintiff

cannot transmogrify the denial of a contract into a sanction that only the judicial branch can enter.

Choosing who to contract with is not “viewpoint discrimination” or “punishment” in any

meaningful sense of those words; it is merely a fact of life. If Plaintiff dislikes the Government’s

choices in this regard, the solution is that “a government entity is ultimately accountable to the

electorate and the political process for its advocacy.” Pleasant Grove City, 555 U.S. at 469. It is

not to ask this Court for a remedy that it cannot give.




3
  Moreover, Umbehr’s retaliation analysis is limited to current government employees or
contractors. The Court specifically noted that its decision did “not address the possibility of suits
by bidders or applicants for new government contracts who cannot rely on [pre-existing]
relationship[s].” Umbehr, 518 U.S. at 685.
                                                  21
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 24 of 37




       Plaintiff’s claim of compelled speech similarly falters. Plaintiff has failed to state a

plausible claim that the Executive Order’s requirement that government contractors “disclose any

business they do with Jenner and whether that business is related to the subject of the Government

contract” is unconstitutional. EO 14230 § 3(a). For one, when business conducted with Jenner &

Block is “related to the subject of the Government contract,” it is very likely that Jenner & Block

is a government subcontractor, whose work Defendants are entitled to monitor. See Scahill v.

District of Columbia, 909 F.3d 1177, 1185 (D.C. Cir. 2018) (“First Amendment concerns are not

implicated where the government requires disclosure for its operations.”).

       For another, a regulation that compels disclosure satisfies the First Amendment so long as

there is a “substantial relation between the disclosure requirement and a sufficiently important

government interest.” Ams. for Prosperity Found. v. Bonta, 594 U.S. 595, 607 (2021). Here, the

disclosure requirement is not of the type that compelled-speech doctrine is designed to prevent.

Plaintiff’s clients are not required to adopt any viewpoint; all they are asked to do is to make a

factual disclosure, and even then only to the Government and not to the public as a whole. Am.

Meat Inst. v. U.S. Dep’t of Agric., 760 F.3d 18, 27 (D.C. Cir. 2014) (en banc) (disclosure

requirement subject to relaxed scrutiny when only “purely factual and uncontroversial”

information had to be disclosed).

       Plaintiff’s remaining First Amendment claims are variations on the same theme. Plaintiff

claims that the Executive Order infringes upon its freedom of association with Andrew Weissmann.

Compl. ¶ 163. But, of course, Section 3 explains that its motivation is Plaintiff’s practice of “racial

discrimination,” EO 14246 § 3(a), so Plaintiff’s invocation of Mr. Weissmann is off-target as to

the contracting provisions. As for Plaintiff’s unconstitutional conditions claim, that theory rests

on the premise that the Executive Order will “impermissibly leverage[] funding to regulate speech


                                                  22
     Case 1:25-cv-00916-JDB          Document 20-1         Filed 04/08/25     Page 25 of 37




and other protected conduct outside the contours of the [government-funded] program itself.”

Compl. ¶ 185. But Section 3 itself only applies to contracts “for which Jenner has been hired to

perform any service,” EO 14246 § 3—in other words, conduct within the “contours” of the

program funded by the Government and which the Government has the right and duty to maintain

efficiently. That the Complaint engages in speculation to fearmonger about a wider scope for

Section 3 only confirms that this lawsuit does not belong before this Court at this stage.

       Second, this Court should reject Plaintiff’s equal protection claim. To begin, the class-of-

one theory of equal protection is inapplicable in the government employment context. Enquist v.

Or. Dep’t of Agric., 553 U.S. 591, 609 (2008); see also Umbehr, 518 U.S. at 685 (treating

government contractors and government employees similarly). And for good reason. “[R]atifying

a class-of-one theory of equal protection in the context of public employment would impermissibly

constitutionalize the employee grievance,” Engquist, 553 U.S. at 609—or, in this case, the contract

bidding and termination process.

       In all events, to “properly plead” a class-of-one claim “a plaintiff must demonstrate they

have been intentionally treated differently from others similarly situated and that there is no

rational basis for the difference in treatment.” Neighborhood Assistance Corp. of Am. v. CFPB,

907 F. Supp. 2d 112, 126 (D.D.C. 2012). Neither condition is met here. Plaintiff is not “similarly

situated” to other potential government contractors who do not engage in unlawful DEI practices.

And the distinction the Executive Order makes—between potential contractors who engage in

“racial discrimination” and those who do not—is plainly rational.

       Third, Plaintiff’s procedural due process claim is meritless. Plaintiff argues that it was

deprived of adequate process to protect its property interest on the theory that it was deprived of

the “right to be considered for government contracts in common with all other persons.” Doe v.


                                                23
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 26 of 37




U.S. Dep’t of Justice, 753 F.2d 1092, 1108–09 (D.C. Cir. 1985). Indeed, this claim is just Plaintiff’s

equal protection argument dressed in different garb, and this Court should dismiss it. Plaintiff does

have the “right to be considered for government contracts in common with all other persons.” Id.

And, as the Executive Order indicates, no person who engages in “racial discrimination” should

be granted a government contract. EO 14246 § 3.

       Fourth, Plaintiff’s substantive due process claim is similarly a re-hash. Plaintiff claims

that there is a fundamental right not to be “punish[ed]” for “their political views.” Compl. ¶ 204.

But, of course, that claim is just Plaintiff’s First Amendment in the language of the Fifth

Amendment. The D.C. Circuit has indicated that it “prefer[s] guideposts from an explicit textual

source of constitutional protection against a particular sort of government behavior to the more

amorphous standards of substantive due process.” Asinor v. District of Columbia, 111 F.4th 1249,

1259 (D.C. Cir. 2024). This Court should reject Plaintiff’s attempt to relitigate the same claims

under vaguer and vaguer rule statements.

       Fifth, this Court should reject Plaintiff’s claims based on the right to counsel, because

Plaintiff simply lacks standing to press them. Plaintiff suggests that the Sixth Amendment is

implicated because the Executive Order requires government contractors to disclose their business

with Jenner & Block. But—again—the Executive Order only directs the termination of contracts

under which Jenner & Block provides services. Plaintiff never explains how the disclosure

requirement would itself make it impossible to represent its clients in criminal or civil proceedings.

       And, unsurprisingly, the Complaint provides no examples. The closest Plaintiff gets is

when it alleges that one of its clients was told that it “may not bring [its] counsel from Jenner &

Block to a meeting with the Department of Justice.” Compl. ¶ 124. But that vignette proves the

point. Unless that proceeding somehow implicates a government contract (which the Complaint


                                                 24
     Case 1:25-cv-00916-JDB            Document 20-1        Filed 04/08/25      Page 27 of 37




does not allege), Section 3 has nothing to say about the matter. And in any event, administrative

investigations—even ones that “might one day ripen into criminal charges”—frequently do not

“implicate the right to counsel.” Collins v. CFTC, 737 F. Supp. 1467, 1482 (N.D. Ill. 1990). The

right to counsel simply does not enter the picture as to Section 3.

         Finally, Defendants are clearly authorized to manage their contracts. “Ultra vires review

is an extraordinary cause of action that has repeatedly been described as extremely limited in

scope.” Lewis v. U.S. Parole Comm’n, 743 F. Supp. 3d 181, 193 (D.D.C. 2024). Plaintiff must

show that Defendants “plainly act[ed] in excess of [their] delegated powers” in a way “so extreme

that one may view [the error] as jurisdictional or nearly so.” Changji Esquel Textile Co. v.

Raimondo, 40 F.4th 716, 722 (D.C. Cir. 2022). But Defendants are plainly authorized to enter into,

manage, and terminate contracts. And Federal regulations provide that such contracts include a

clause permitting the Government exceptionally wide latitude to “terminate performance of work”

where “termination is in the Government’s interest.” 48 C.F.R. § 52.249-2(a). Plaintiff might

dislike how Defendants would exercise that authority under the Executive Order, but that does not

make Defendants’ actions ultra vires.

   IV.      Plaintiff’s claims fail as to Section 4 of the Executive Order.

         Section 4 of the Executive Order, in its entirety, says this: “Nothing in this order shall be

construed to limit the action authorized by section 4 of Executive Order 14230 of March 6, 2025

(Addressing Risks from Perkins Coie LLP).” So, to begin, Plaintiff is misguided when it trains its

fire on Section 4. Consider what it would mean if the Court were to “enjoin implementation of”

Section 4, as Plaintiff asks. Compl. 63. It would, in fact, mean nothing. In truth, Plaintiff seeks

to challenge Section 4 of a different Executive Order altogether—a challenge which has already

been undertaken by a different party in a different case, which Plaintiff has not bothered joining.


                                                  25
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25       Page 28 of 37




       Regardless, even as to the Section 4 (of the other executive order) which Plaintiff tries to

challenge, it has no meritorious claim.          That section merely directs the “review” and

“investigat[ion]” of “the practices of representative large, influential, or industry leading law

firms” for consistency with the civil rights laws. EO 14230 § 4. That is already what the EEOC

is supposed to be doing. The EEOC is already “empowered . . . to prevent any person from

engaging in any unlawful employment practice” under the civil rights laws. 42 U.S.C. § 2000e-

5(a). The EEOC is already required to make “report[s] . . . to the President . . . on the cause of and

means of eliminating discrimination,” including in any industry the President directs the EEOC to

review. Id. § 2000e-4(e). And members of the EEOC are already authorized to file charges against

“employer[s] . . . engaged in an unlawful employment practice.” Id. § 2000e-5(b).

       Thus, any supposed injury of Plaintiff is therefore not traceable to either the relevant

Executive Order or even the earlier executive order, and there is no plausible relief that the Court

can give. In short, Plaintiff’s supposed injury of being subject to a review for civil rights violations

is unredressable. Even if the President never issued the Executive Order, Plaintiff would still be

subject to review by the EEOC and subject to potential legal action from the EEOC—just like any

other employer in the country. The only relief that would “redress” Plaintiff’s injury is not an

injunction against the Executive Order, but rather an injunction granting immunity from civil rights

laws to all “representative large, influential, or industry leading law firms.”

       For similar reasons, this Court should reject Plaintiff’s claim of First Amendment

retaliation even if it were to reach the merits. To succeed on a First Amendment retaliation claim,

a plaintiff must allege “(1) he engaged in conduct protected under the First Amendment; (2) the

defendant took some retaliatory action sufficient to deter a person of ordinary firmness in

plaintiff’s position from speaking again; and (3) a causal link between the exercise of a


                                                  26
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25      Page 29 of 37




constitutional right and the adverse action taken against him.” Aref v. Lynch, 833 F.3d 242, 258

(D.C. Cir. 2016). “To satisfy the causation link, a plaintiff must allege that his or her constitutional

speech was the ‘but for’ cause of the defendants' retaliatory action,” Doe v. D.C., 796 F.3d 96, 107

(D.C. Cir. 2015); that is, the plaintiff must allege that the retaliatory action “would not have been

taken absent the retaliatory motive,” Houston Community College System v. Wilson, 595 U.S. 468,

477 (2022).

        Even assuming Plaintiff engaged in protected conduct, it cannot demonstrate the requisite

causal link. Before the Executive Order was issued, this Administration had begun taking steps

consistent with the view that certain DEI practices, misapplied, could constitute a violation of Title

VII. See EO 14173 of Jan. 21, 2025, 90 Fed. Reg. 8633 (Jan. 31, 2025) (“Ending Illegal

Discrimination and Restoring Merit-Based Opportunity”). EO 14173, issued more than a month

before the challenged Executive Order, directed, among other things, Federal agencies to take

appropriate action to “advance in the private sector” merit-based opportunity, EO 14173 § 4(a),

and to enforce civil rights laws and combat illegal private-sector DEI policies and practices, id.

§ 2; see also id. § 4(b) (requiring plan for compliance investigations going after illegal

discrimination in large, private entities); supra Part I (regarding EEOC/DOJ press release

concerning DEI-related technical guidance documents). It should not be surprising, then, that an

executive order concerning a large private law firm included a provision like Section 4, directing

EEOC “review” of practices of “representative large, influential, or industry leading law firms,”

as part of the Administration’s broader efforts. Thus, Plaintiff cannot show that the Section 4

review, the alleged retaliatory action, “would not have been taken absent the [alleged] retaliatory

motive.” Plaintiff’s retaliation claim cannot succeed.




                                                  27
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 30 of 37




        At bottom, the Administration has raised legitimate legal issues of just how far DEI policies

and programs can go and whether such policies cross the line into illegal discrimination under Title

VII. The Court should not use its equitable and other powers to excuse Plaintiff from the scope of

a review of multiple law firms on this issue. Plaintiff may believe its practices are not illegal, but

it is not entitled to a “free pass” from a legitimate review of multiple law firms’ employment

practices.

   V.        Plaintiff’s claims fail as to Section 5 of the Executive Order.

        Finally, Section 5 of the Executive Order concerns Federal hiring, access to government

buildings, and interaction with government employees. As relevant, Section 5 provides three

directives. First, agency heads “shall, to the extent permitted by law, provide guidance limiting

official access from Federal Government buildings to employees of Jenner when such access

would threaten the national security of or otherwise be inconsistent with the interests of the United

States.” EO 14230 § 5(a). Second, agency heads “shall provide guidance limiting Government

employees acting in their official capacity from engaging with Jenner employees to ensure

consistency with the national security and other interests of the United States.” Id. Third,

“[a]gency officials shall, to the extent permitted by law, refrain from hiring employees of Jenner,

absent a waiver from the head of the agency, made in consultation with the Director of the Office

of Personnel Management, that such hire will not threaten the national security of the United

States.” Id. § 5(b).

        Plaintiff raises a variety of challenges to Section 5. This Court should reject them as unripe

without even reaching the merits. “[A] claim is not ripe for adjudication if it rests upon contingent

future events that may not occur as anticipated, or indeed may not occur at all.” In re Al-Nashiri,

47 F.4th at 826. That describes Plaintiff’s claims against Section 5 to a tee. Section 5 directs


                                                 28
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25      Page 31 of 37




agency heads to “provide guidance” on “limiting” access to government buildings and interactions

with government employees. It does not outright ban such access. Plaintiff can only guess the

degree to which agency heads will limit government access, and indeed Section 5 directs such

agency heads only to do so “to the extent permitted by law.” Perhaps agency heads will limit their

guidance to prohibiting Plaintiff from entering Government locations storing sensitive

information, which no member of the public has a right to access. Perhaps the agency heads and

the OPM director will, as a matter of course, waive the hiring freeze in all cases but the ones posing

the most egregious threats to national security. Either way, Plaintiff cannot bring this challenge on

nothing more than rank speculation of what agency heads might do in response to Section 5 and

without concrete examples of harm alleged to have been caused by Section 5.

       That lack of ripeness infects the entire challenge against Section 5. Plaintiff alleges that

the Executive Order “impairs Jenner & Block’s ability to follow its chosen profession by limiting

. . . its ability to represent clients in court and before agencies.” Compl. ¶ 190. It accuses the order

of “barring Jenner & Block from . . . interacting with federal employees[] and accessing federal

buildings.” Id. ¶ 224. It cries alarm that the order “conditions . . . access to government facilities”

on “political support or affiliation.” Id. ¶ 182. And it lambasts the order for “significantly

impair[ing] Jenner & Block’s ability to advance clients’ interests before the government.” Id.

¶ 230. But at the end of the day, Plaintiff is challenging a Section of the EO that tells agency heads

only to “issue guidance.” It therefore cannot plausibly allege that Section 5 caused it injury on the

basis of guidance which has not been issued. There is simply no case for this Court to hear on this

subject.

       Even if this Court were to proceed to the merits, it should dismiss Plaintiff’s claims

challenge to Section 5. Start with Plaintiff’s ultra vires claim, which remarkably suggests that


                                                  29
     Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25       Page 32 of 37




Federal agencies lack any authority to control over who can enter their buildings or interact with

their employees on official business. There is no constitutional right to enter government buildings

at will, U.S. Postal Serv. v. Council of Greenburgh Civic Ass’ns, 453 U.S. 114, 129 (1981), and

“[t]he State, no less than a private owner of property, has power to preserve the property under its

control for the use to which it is lawfully dedicated,” Greer v. Spock, 424 U.S. 828, 836 (1976).

As before, Plaintiff might think that Defendants plan to exercise this authority in an

unconstitutional manner (though, again, no guidance has yet issued), but that is reason to raise a

constitutional claim, not an ultra vires claim. Cf. Eagle Trust Fund v. USPS, 811 F. App’x 669,

670 (D.C. Cir. 2020).

       Those constitutional claims, however, fare no better. Once again, Plaintiff lacks standing

to press its due process claims, because it cannot point to any injury traceable to Section 5 of the

Executive Order. Furthermore, whether Plaintiff received adequate process depends on the

“importance of the private interest at stake,” English, 717 F.3d at 972, and the “interest at stake”

depends on what guidance the agency heads will issue. Until then, Plaintiff’s conclusory assertion

that the Executive Order “deprives Jenner & Block of its liberty interest in its First Amendment

right to petition the government” is due no weight at all. Compl. ¶ 190.

       Plaintiff’s equal protection claim founders fails as well. According to Plaintiff, there is not

“even a rational justification for the Order.” Id. ¶ 224. But that ignores the actual text of Section

5. Every part of Section 5 is tied to “the national security” of the United States. EO 14246 § 5.

Agency heads are directed to “limit official access” only when “access would threaten the national

security of or otherwise be inconsistent with the interests of the United States.” They are directed

to “limit Government employees acting in their official capacity from engaging with Jenner

employees” only “to ensure consistency with the national security and other interests of the United


                                                 30
     Case 1:25-cv-00916-JDB            Document 20-1         Filed 04/08/25      Page 33 of 37




States.” And the hiring freeze may be overridden so long as the agency head and the OPM Director

determines “that such hire will not threaten the national security of the United States.” In other

words, Section 5 clearly states a rational justification.

       And Plaintiff’s First Amendment claims falter for similar reasons.             To state a First

Amendment retaliation claim, a plaintiff must allege “a causal link between the exercise of a

constitutional right and the adverse action taken against him.” Aref, 833 F.3d at 258. Even

assuming Plaintiff engaged in protected conduct Plaintiff cannot demonstrate the requisite causal

link. Section 5 is not tied to speech; it is tied to the “national security” and the “interests” of the

United States, “to the extent permitted by law.” EO 14246 § 5.

       Finally, Plaintiff appears to rest heavily on the notion that Section 5 violates its clients’

right to counsel. Again, until agency heads issue guidance, Plaintiff can only speculate as to

whether anyone’s right to counsel will be affected at all by Section 5. Regardless, “[t]he

constitutional right to choice of counsel . . . is not absolute.” United States v. Friedman, 849 F.2d

1488, 1490 (D.C. Cir. 1988). It “must be balanced against the government’s interest in the fair,

orderly, and effective administration of the courts which, in a given case, may require an accused

to resort to his second choice of counsel.” United States v. Koblitz, 803 F.2d 1523, 1528 (11th Cir.

1986). And the right is “qualified by the need to avoid undermining public confidence in the

integrity of the legal system.” United States v. Wheat, 813 F.2d 1399, 1401–02 (9th Cir. 1987).

       Read as a whole, the Executive Order considered Plaintiff’s history in supporting racial

discrimination and questionable litigation. EO 14246 § 1. And as to Section 5 itself, the Executive

Order is preoccupied with the “national security” and “interests” of the United States. Id. § 5. If

completely unfettered access to government buildings and government employees in fact

“threaten[ed] the national security” of the United States, id., turning a blind eye to that threat would


                                                  31
     Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25     Page 34 of 37




surely “undermine public confidence in the integrity of the legal system” (Wheat, 813 F.2d at

1401–02) and would impair “the fair, orderly, and effective administration of the courts,” Koblitz,

803 F.2d at 1528. And if completely unfettered access would not threaten the national security or

interests of the United States, then Section 5 will have no impact whatsoever on Plaintiff and it

would lack any injury to complain of. Either way, the Court should dismiss this claim as well.

   VI.      Plaintiff’s Naming of the United States as a Defendant is Improper.

         Plaintiff also names the United States as defendant. Compl. ¶ 79. The Court should dismiss

the United States. Indeed, suits alleging unconstitutional action by the Government must be

brought “against officials,” not against the “agenc[y]” or the “State[]” writ large, “which retain

their immunity against all suits in federal court.” Puerto Rico Aqueduct & Sewer Auth. v. Metcalf

& Eddy, Inc., 506 U.S. 139, 146 (1993) (noting that Ex parte Young doctrine applies only to suits

against officials); see also Armstrong v. Exceptional Child Center., Inc., 575 U.S. 320, 326–27

(2015) (explaining that Ex parte Young and the principles governing suits against federal officials

are similar). Under the ultra vires doctrine, Plaintiff can bring a suit against Federal officers—

and, indeed, Plaintiff did. See Compl. ¶¶ 32–78 (listing federal officers named in their official

capacities). But Plaintiff cannot sue for injunctive relief against the entire Government qua

Government. Cf. Chamber of Commerce of the United States v. Reich, 74 F.3d 1322, 1331 n.4

(D.C. Cir. 1996) (distinguishing between “bring[ing] the judicial power to bear directly on the

President,” which is impermissible, and “the long established non-statutory review of a claim

directed at a subordinate executive official,” which is permissible).

         Indeed, sovereign immunity bars the Court from granting the injunction to the extent it is

directed to Federal officials not specifically named. The general waiver of sovereign immunity is

located in 5 U.S.C. § 702, which provides that “[a] person suffering legal wrong because of an


                                                 32
     Case 1:25-cv-00916-JDB           Document 20-1         Filed 04/08/25      Page 35 of 37




agency action . . . is entitled to judicial review thereof.” But that waiver comes with a caveat: it

requires that “any mandatory or injunctive decree shall specify the Federal officer or officers . . .

personally responsible for compliance.” Id. (emphasis added). That language was intentional—it

was a “nod[] to traditional standing rules and remedial principles.” See United States v. Texas, 599

U.S. 670, 698 (2023) (Gorsuch, J., concurring in the judgment). Yet, to this point, Plaintiff has

named as defendants only twenty-nine officials to whom any injunctive relief should apply and

not Federal officials representing every Federal agency part of “the United States.” 4

       In short, the United States should never have been named in this suit. No cause of action

exists against it that Plaintiff has articulated, and sovereign immunity has not been waived for the

government-wide relief the Court is asked to grant. And, once the United States falls out of the

picture, the case is limited to the named agencies and their representative officials as arguably

proper defendants. Plaintiff can seek to enjoin only the specific agency officials it named in its

Complaint; it cannot enjoin the rest of the Federal Government. 5

       As alluded to above, Plaintiff also improperly uses naming the United States as defendant

to seek to dodge the well-settled prohibition against courts enjoining the President. Plaintiff hardly

bothers to disguise this attempted end-run. The Complaint describes “[t]he United States of

America” as the party “responsible for the exercise of executive action by the named Defendants

and all other agencies that are directed by the Order to take action respecting Jenner & Block.”

Compl. ¶ 79. This, per Plaintiff, “ensure[s] that the relief ordered by the Court will apply




4
  For similar reasons, Plaintiff’s blanket invocation of “All other agencies subject to the Executive
Order” is unavailing. Compl. ¶ 78.
5
  In a similar vein, the more traditional Larson-Dugan exception to sovereign immunity applies
only when “a plaintiff brings a suit for injunctive or declaratory relief against a federal officer for
an ultra vires act.” Schilling v. U.S. House of Representatives, 102 F.4th 503, 506 (D.C. Cir. 2024)
(emphasis added).
                                                  33
     Case 1:25-cv-00916-JDB           Document 20-1        Filed 04/08/25      Page 36 of 37




government-wide.” Id. Of course, there is only one entity which fits Plaintiff’s description: the

President of the United States. See Seila Law LLC v. CFPB, 591 U.S. 197, 204 (2020) (“Under

our Constitution, the ‘executive Power’—all of it—is ‘vested in a President.’”).

       Plaintiff cannot ask this Court to enjoin the President by another name. “A court—whether

via injunctive or declaratory relief—does not sit in judgment of a President’s executive decisions.”

Newdow v. Roberts, 603 F.3d 1002, 1012 (D.C. Cir. 2010); see also id. at 1013 (“With regard to

the President, courts do not have jurisdiction to enjoin him.”). And for good reason. The

“President, like Congress, is a coequal branch of government”; to enjoin him “at best creates an

unseemly appearance of constitutional tension and at worst risks a violation of the constitutional

separation of powers.” Swan v. Clinton, 100 F.3d 973, 978 (D.C. Cir. 1996). Accordingly, the

D.C. Circuit has “never attempted to exercise power to order the President to perform” even a

“ministerial duty,” id., much less enjoin the President in his plainly discretionary functions.

       Time and again, Judges in this district have abided by this “[b]edrock separation of powers

principle[].” See, e.g., Pickup v. Biden, 2022 WL 17338099, at *4 (D.D.C. Nov. 30, 2022); McCray

v. Biden, 574 F. Supp. 3d 1, 11 (D.D.C. 2021) (noting that “the critical lesson” in past cases

involving challenges to presidential executive orders “is that, in such litigation, the proper course

is to seek to enjoin a member of the executive branch from carrying out the executive order at

issue, not the President”); Center for Democracy & Tech. v. Trump, 507 F. Supp. 3d 213, 224

(D.D.C. 2020) (“The injunctive relief that CDT seeks against the President is unavailable.”); Doe

v. Trump, 319 F. Supp. 3d 539, 541 (D.D.C. 2018) (“Sound separation-of-power principles counsel

the Court against granting these forms of relief against the President directly.”); Newdow v. Bush,

355 F. Supp. 2d 265, 280 (D.D.C. 2005) (“There is longstanding legal authority that the judiciary

lacks the power to issue an injunction or declaratory judgment against the co-equal branches of


                                                 34
     Case 1:25-cv-00916-JDB          Document 20-1         Filed 04/08/25      Page 37 of 37




the government—the President and the Congress.”). Plaintiff cannot avoid this principle by

replacing the “President” with the “United States” and thereby enjoin every Federal agency in one

fell swoop.

       And if Plaintiff cannot even identify the agencies it wishes to enjoin, it certainly cannot

identify any cognizable injury traceable to those agencies. See supra XXX. Crucially, standing

“is not dispensed in gross,” and “a plaintiff must demonstrate standing for each claim he seeks to

press against each defendant.” Garcia v. Stewart, 531 F. Supp. 3d 194, 205 (D.D.C. 2021).

       At bottom, Plaintiff simply cannot absolve itself of the responsibility of naming the specific

Federal defendants it seeks to enjoin. The Court should hold Plaintiff to that duty and dismiss the

United States.

                                         CONCLUSION

       The Court should dismiss the Complaint and grant judgment to Defendants.

 Dated: April 8, 2025                        Respectfully submitted,
        Washington, DC

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